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               Exhibit A
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                                                                                                                                      CO-901A
                                                                                                                                      Rev. 4/10

                                              UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF COLUMBIA


1776 Mass Ave RE LLC
________________________
                                                                                                Confucius Institute US Center, Inc.
                                                                                                __________________________
       Plaintiff(s)                                                       vs                             Defendant(s)


                                                                                       1:21-cv-1588
                                                 CIVIL ACTION NO._________
                                            WRIT OF ATTACHMENT ON JUDGMENT
                                        OTHER THAN WAGES, SALARY AND COMMISSIONS

   Wells Fargo Bank, N.A.
To _______________________________________________________________________

 2001 K Street, Northwest, Suite 103, Washington DC 20006
_________________________________________________________________________Garnishee:


         You are hereby notified that any money, property or credits other than wages, salary and commissions of
the above named defendant(s), are seized by the Writ of Attachment, and you are required to hold it and not to pay
or surrender it to the defendant(s) or to anyone else without an order from this court.
                                                                  August 20, 2021
         The Judgement against the defendant was entered on ___________________________            in the amount of
                                                 323,833.46
three hundred twenty-three thousand eight hundred thirty-three dollars and 46 cents
_______________________________________________($________________) and the costs amounting to $
0
__________________________                  5.21
                           with interest at ___________________________% from
August 20, 2021
_____________________________                   ---
                              less credits of $ _____________________________.
         Within ten (10) days after this writ is served upon you, you are required to answer the interrogatories,
UNDER PENALTY OF PERJURY, and to file in this Court the original and one copy of the answers, and to serve a
copy, by mail or other means, upon the plaintiff(s) and upon the defendant(s). If you fail to do so, judgment may be
entered against you for the entire amount of the plaintiff's claims with interest and costs.
         Witness the Honorable Chief Judge of said Court, this _______________
                                                                    29th                day of ___________________,
                                                                                               January
____________.
2024


                                                                                      Angela D. Caesar, Clerk

                                                                                         /s/ Nicole M. Wilkens
                                                                                      By ___________________________
                                                                                               Deputy Clerk

Christopher A. Hatfield
_________________________________________
Attorney for Plaintiff
1909 K St NW, 12th Fl
___________________________________________

Washington, DC, 20006
___________________________________________

202-661-2200
___________________________________________
Address & Telephone Number
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                                      INTERROGATORIES IN ATTACHMENT

                                                        NOTICE


As a garnishee, you are required by law to file answers to the following Interrogatories in Attachment1 within ten (10)
days after service of the writ upon you [Title 16. Section 521 (a), D.C. Code 1981 ed.]. If you fail to answer the
Interrogatories, judgment may be entered against you for the entire amount of the plaintiff's claim and costs [Title 16,
Section 526(b). D.C. Code 1981 ed.].

         The garnishee is required to file the original and one copy of the answers in this Court, and to serve a copy
upon the plaintiff(s) and defendant(s).

        If, within ten (10) days after service of the answers, the party at whose request the Attachment was issued does
not contest the answers pursuant to Title 15, Section 522. D.C. Code (1981 ed.), the garnishee's obligations under the
attachment shall be limited by the answers.

1.       Were you at the time of the service of the writ of attachment, or have you been between the time of such service
and the filing of your answers to this interrogatory indebted to the defendant(s), and, if so, how, and in what amount?
         ANSWER _____________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________
2.        Had you at the time of the service of the writ of attachment, or have you had between the time of such service
and the filing of your answer to this interrogatory, any goods, chattels, or credits of the defendant(s) in you possession
or charge, and, if so, what?
          ANSWER _____________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

       I declare under the penalties of perjury that the answers to the above interrogatories are, to the best of my
knowledge and belief, true and correct as to every material matter.



Date: _____________________                                      _________________________________________
                                                                                            Garnishee
